Case 15-12125-1-rel       Doc 44     Filed 10/27/17 Entered 10/27/17 15:49:01          Desc Main
                                     Document     Page 1 of 2


                            DRUCKMAN LAW GROUP PLLC
                                        242 Drexel Avenue
                                    Westbury, New York 11590
                                          (516) 876-0800
                                        Fax (516) 876-0888
                                  ___________________________

                                                                    October 25, 2017
Docketed to ECF on October 27, 2017

The Honorable Robert E. Littlefield, Jr.
United States Bankruptcy Court
Northern District of New York
James T. Foley Courthouse
445 Broadway, Suite 330
Albany, NY 12207
                               RE: Case No. 15-12125-1-rel
                       Debtor:        Mark Thomas and Dawn Thomas

Dear Judge Littlefield:

       Please allow this letter to serve as a status report in the pending Loss Mitigation pursuant
to the Northern District of New York Bankruptcy Loss Mitigation Program. Our office
represents Shellpoint Mortgage Servicing in the above reference case.

       At the last hearing, we advised the court that the executed loan modification sent to
Shellpoint was a copy of the agreement and not the original. Shellpoint has mailed Debtor’s
Counsel a duplicate original of the modification on or about November 25, 2016, April 7, 2017,
June 28, 2017 and August 31st, 2017, all with a return envelope to send the original executed
modification back to Shellpoint to complete the modification process. To date, we have only
received a copy of the modification instead of the original as needed. On or about October 3,
2017, a denial letter has been sent out due to the original executed modification not being
provided to us.

If there are any questions, please feel free to contact me at 516-876-0800 x 19.

                                                      Very truly yours,

                                                     By:/s/ Stuart L. Druckman
                                                     Stuart L. Druckman, Esq.
                                                     Druckman Law Group PLLC
                                                     Attorneys for Movant
                                                     242 Drexel Avenue
                                                     Westbury, New York 11590

CC: Kristie Hanson kristie@hansonlawonline.com
Case 15-12125-1-rel   Doc 44   Filed 10/27/17 Entered 10/27/17 15:49:01   Desc Main
                               Document     Page 2 of 2
